                    Case 5:20-mj-00112-STE Document
                                             CRIMINAL5 Filed 03/12/20 Page 1 of 110:24
                                                                        Tape
                                           COURTROOM MINUTE SHEET
                                        UNITED STATES MAGISTRATE JUDGE
Date          03/12/2020

CASE NO:           20-MJ-112STE;9247195;9247194               U.S.A. vs.   Caleb Davis

PROCEEDINGS:          X     INITIAL APPEARANCE   X       ARRAIGNMENT X                   PLEA/ CHANGE OF PLEA
                     X    SENTENCING        OTHER (Specify): DOCKET CALL

MAGISTRATE JUDGE SHON T. ERWIN                                                    Courtroom Deputy: Monja Smith

COUNSEL FOR:                Plaintiff   REBECCA ASHBY, SAUSA
                            Defendant   CLAY ZELBST, CJA

Minute: Enter as above

  X     Defendant appears in person.    X    Is Fully apprised.                            ____ Waives counsel
                                                                                           __ _ Retain counsel
   X Consents to be tried by U.S. Magistrate    X     Misd.          Petty Offense          X Request counsel be appointed
                                                                                            X Approved         Denied




CHARGES AND FINES:

Count 1          Class A: Poss. CDS                     Charge amended to Class B: Trespassing: $290 +$10SA
Count 2          Class A: Poss. drug paraphernalia      Charge amended to Class              :
Count 3          Class B: Litter on NWR: $100           Charge amended to Class              :
Count4           Class B: Exceed visitors hours/NWR     Charge amended to Class              :
Count            Class                                  Charge amended to Class              :

PLEA:            Guilty on ct. 1 and 3; dismiss counts 2 and 4


Referred to Probation Office: Pre-Sent.                TSR                 Prob

Substance Abuse Aftercare at discretion of P.O.

Drug testing as per 1994 Crime Bill

Jail:                                   Defendant to report to US Marshal on                          at



Total Due: $290 fine+$10SA on ct 1; $60 fine+$10SA+$30processing fee ($400 total)
To be paid as Follows: _______________________
In Full on   3/12/20
$                    Monthly beginning
Other
